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FILED

UNITED STATES BANKRUPTCY COURT 2019 AUG 22 AM IO: 10
FOR THE WESTERN DISTRICT OF MICHIGAN

MICHELLE Mi. WILSOS, CLERK

U.S. BANKRUPTCY SQURT

WESTERN DIST. OF MICHIGAN

IN RE:
Jeffery Lee Cadarette Case No. 19708329

Debtor(s)

Verification of Creditor Matrix

| (We), hereby declare, under penalty of perjury, that the attached list of

creditors is true and correct to the best of my (our) knowledge.

pate O/ 12/19

 

Attorney for the Debtor(s)

-OR -

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Joint Debtor (if applicable)
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Michigan Department of Corrections
206 E. Michigan Ave.
P.O. Box 30003

Lansing, MI 48909

Heidi E. Washington

Director, Michigan Department of Corrections
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